     Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 1 of 20 Page ID
                                      #:1893



 1
     CHAN YONG JEONG, ESQ. (SBN 255244)
     JEONG & LIKENS, L.C.
 2   1100 Wilshire Blvd., Suite 3008
     Los Angeles, CA 90017
 3
     Tel: 213-688-2001
 4   Email: Jeong@jeonglikens.com
 5
     Attorneys for Plaintiff/Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 6
 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
      NEMAN BROTHERS & ASSOC.,                         Case No.: 2:20-cv-11181-CAS-JPR
12    INC., a California Corporation;
13
                  Plaintiff/Counter-Defendant,         DECLARATION OF CHAN YONG
14                                                     JEONG, ESQ.
15                vs.

16    INTERFOCUS, INC., a California                   Date: December 5, 2022
17    Corporation, et al.,                             Time: 10 a.m.
                 Defendant/Counter-Claimant            Honorable Judge Christina A. Snyder
18
19
20
21
22
     I, CHAN YONG JEONG, declare:
23
        1.   I am the attorney for Plaintiff/Cross-defendant Neman Brothers in this action.
24
        2.   I am over 18 years of age and have personal knowledge of each fact stated in this
25
             declaration. If called upon to testify thereto as a witness, I can and will testify.
26
        3.   This declaration is submitted in support of Plaintiff’s Motion for Summary
27
             Judgment, and in opposition to Interfocus Motion for summary judgment.
28
        4.   Attached hereto as Exhibit 43 is an excerpt from the deposition transcript of Ms.


                                                   1
                            DECLARATION OF CHAN YONG JEONG
     Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 2 of 20 Page ID
                                      #:1894



 1
             Adrineh Moktarian dated August 12, 2022.

 2
        5.   Neman did identify the former employees including both Vicky Alvarado and
             Adelso Henriquez as the ones in charge of submitting the applications including
 3
             the subject applications during the relevant time, with their employment period
 4
             and the contact information as of August 3, 2022 (Jeong Decl. ⁋, whom
 5
             Interfocus could depose as I recommended (Ex. 43, 16:8-9), before submitting its
 6
             brief but Interfocus did not do so.
 7
 8
     Under penalty of perjury under the laws of the State of California, I declare that the foregoing
 9
     is true and correct.
10
11
12   Dated: November 15, 2022                    Respectfully submitted,

13                                               /s/Chan Yong Jeong____
                                                 Chan Yong Jeong, Esq.
14                                               Attorney for NEMAN BROTHERS &
15                                               ASSOC., INC.
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                    2
                             DECLARATION OF CHAN YONG JEONG
     Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 3 of 20 Page ID
                                      #:1895



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16                               EXHIBIT 43
17
18
19
20
21
22
23
24
25
26
27
28



                                          3
                        DECLARATION OF CHAN YONG JEONG
                                 #:1896
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 4 of 20 Page ID




                                                                               1                       UNITED STATES DISTRICT COURT
                                                                               2                      CENTRAL DISTRICT OF CALIFORNIA
                                                                               3
                                                                               4    - - - - - - - - - - - - - - - - x
                                                                               5    NEMAN BROTHERS & ASSOC.,        :
                                                                                    INC., a California              :
                                                                               6    corporation,                    :
                                                                                                                    :
                                                                               7           Plaintiff/Counterclaim   :
                                                                                           Defendant,               :     Case No.
                                                                               8                                    :     2:20-cv-11181-CAS-
                                                                                       v.                           :     JPR
                                                                               9                                    :
                                                                                    INTERFOCUS, INC. d.b.a.         :
                                                                               10   www.patpat.com, a Delaware      :
                                                                                    corporation; CAN WANG, and      :
                                                                               11   individual, and Does 1-10,      :
                                                                                    inclusive,                      :
                                                                               12                                   :
                                                                                           Defendant/Counterclaim   :
                                                                               13          Plaintiff.               :
                                                                                    - - - - - - - - - - - - - - - - x
                                                                               14
                                                                               15          Deposition of NEMAN BROTHERS & ASSOC., INC.,
                                                                               16          By and Through Its Designated Representative,
                                                                               17                           ADRINEH MOKHTARIAN
                                                                               18                           Conducted Virtually
                                                                               19                        Friday, August 12, 2022
                                                                               20                             10:17 a.m. PST
                                                                               21
                                                                               22   Job No.: 459387
                                                                               23   Pages: 1 - 63
                                                                               24   Reported By:    Rhonda Norberg, RPR, CSR No. 9265,
                                                                               25                   CCRR No. 185
                                                                                                 Transcript of Yoel Neman, Designated Representative
                                 #:1897
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 5 of 20 Page ID

                                                                                                                   August 12, 2022                     2

                                                                               1        Deposition of ADRINEH MOKHTARIAN, conducted
                                                                               2    virtually.
                                                                               3
                                                                               4
                                                                               5
                                                                               6
                                                                               7
                                                                               8
                                                                               9            Pursuant to notice, before Rhonda Norberg,
                                                                               10       Certified Shorthand Reporter No. 9265, CCRR No. 185
                                                                               11       in and for the State of California.
                                                                               12
                                                                               13
                                                                               14
                                                                               15
                                                                               16
                                                                               17
                                                                               18
                                                                               19
                                                                               20
                                                                               21
                                                                               22
                                                                               23
                                                                               24
                                                                               25

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of Yoel Neman, Designated Representative
                                 #:1898
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 6 of 20 Page ID

                                                                                                                August 12, 2022                     3

                                                                               1                      A P P E A R A N C E S
                                                                               2
                                                                               3    ON BEHALF OF THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                                                               4           MARK S. LEE, ESQUIRE
                                                                               5           RIMON, P.C.
                                                                               6           800 Oak Grove Avenue
                                                                               7           Suite 250
                                                                               8           Menlo Park, California 94025
                                                                               9           650.461.4433
                                                                               10
                                                                               11   ON BEHALF OF THE DEFENDANT/COUNTERCLAIM PLAINTIFF:
                                                                               12          CHAN YONG JEONG, ESQUIRE
                                                                               13          JEONG & LIKENS, L.C.
                                                                               14          222 South Oxford Avenue
                                                                               15          Los Angeles, California 90004
                                                                               16          213.688.2001
                                                                               17
                                                                               18   ALSO PRESENT:
                                                                               19            MIKE ALICANDRI - VIDEOCONFERENCE TECHNICIAN
                                                                               20
                                                                               21
                                                                               22
                                                                               23
                                                                               24
                                                                               25

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of Yoel Neman, Designated Representative
                                 #:1899
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 7 of 20 Page ID

                                                                                                                August 12, 2022                      8

                                                                               1    because I'm a lawyer, lawyers sometimes ask questions in
                                                                               2    funny ways and the question I end up asking may not be
                                                                               3    the question that you think I'm going to be asking.             So
                                                                               4    because we want your best and most accurate testimony
                                                                               5    today, it's very important that you listen to the entire
                                                                               6    question before you answer.
                                                                               7             Will you do that, please?
                                                                               8        A    Yes.
                                                                               9        Q    Okay.     Have you taken any medication in the
                                                                               10   last day or so that might affect your memory or affect
                                                                               11   your ability to give your best testimony today?
                                                                               12       A    No.
                                                                               13       Q    Do you know of any reason why you cannot give
                                                                               14   us your best and most accurate testimony this morning?
                                                                               15       A    No.
                                                                               16       Q    Okay.     In that case, why don't we get started.
                                                                               17            By whom are you presently employed?
                                                                               18       A    Neman Brothers.
                                                                               19       Q    How long have you worked at Neman Brothers?
                                                                               20       A    15 years.
                                                                               21       Q    Okay.     And what year did you start?
                                                                               22       A    2007.
                                                                               23       Q    Thank you.
                                                                               24            What is your position at Neman Brothers?
                                                                               25       A    Designer.

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                              Transcript of Yoel Neman, Designated Representative
                                 #:1900
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 8 of 20 Page ID

                                                                                                                August 12, 2022                     9

                                                                               1        Q    What are your duties as a designer at
                                                                               2    Neman Brothers?
                                                                               3        A    I create our seasonal line, I meet the
                                                                               4    customer, I contact suppliers, work with suppliers, and
                                                                               5    I oversee the design room.
                                                                               6        Q    Thank you.
                                                                               7             Do your duties include any activities regarding
                                                                               8    filing copyright applications with the copyright office?
                                                                               9        A    Yes.
                                                                               10       Q    What are your duties in that regard?
                                                                               11       A    I file -- I fill out the application and I
                                                                               12   submit to copyright office.
                                                                               13       Q    All right.     When did you first start filing
                                                                               14   copyright applications with the copyright office for
                                                                               15   Neman Brothers?
                                                                               16       A    2021.
                                                                               17       Q    Okay.     Had you filed copyright applications at
                                                                               18   any time before you started working at Neman Brothers?
                                                                               19       A    No.
                                                                               20       Q    Do you know if Neman Brothers filed any
                                                                               21   copyright applications with the copyright office before
                                                                               22   you began undertaking those efforts in 2021?
                                                                               23       A    Yes.
                                                                               24       Q    Who did that immediately before you at
                                                                               25   Neman Brothers?

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                 Transcript of Yoel Neman, Designated Representative
                                 #:1901
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 9 of 20 Page ID

                                                                                                                   August 12, 2022                     10

                                                                               1           A    Alicia Barrales.
                                                                               2           Q    Okay.   Could you spell that name, please?
                                                                               3           A    Hold on one second.         I have it written down.
                                                                               4    Sorry.
                                                                               5                It's Alicia, A-l-i- -- yeah, I have it here.
                                                                               6    It's A-l-i-c-i-a, the last name is B-a-r-r-a-l-e-s.
                                                                               7           Q    All right.     Do you know how long she filed
                                                                               8    copyright applications for Neman Brothers before you
                                                                               9    did?
                                                                               10          A    I don't have an exact date.
                                                                               11          Q    Can you give me an estimate?
                                                                               12          A    I'm sorry.     I can't.
                                                                               13          Q    All right.     How far did you go in your formal
                                                                               14   education?
                                                                               15          A    I have a bachelor's degree in art and design of
                                                                               16   textiles.
                                                                               17          Q    And from what educational institution did you
                                                                               18   get that degree?
                                                                               19          A    I got it from Northeast London Polytechnic in
                                                                               20   London.
                                                                               21          Q    Ms. Mokhtarian, do you understand why you've
                                                                               22   been asked to appear for a deposition today?
                                                                               23          A    Yes, I do.
                                                                               24          Q    What is your understanding of why you've been
                                                                               25   asked to be deposed this morning?

                                                                                                                 PLANET DEPOS
                                                                                                    888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Yoel Neman, Designated Representative
                                 #:1902
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 10 of 20 Page ID

                                                                                                                 August 12, 2022                       15

                                                                                1    the testimony.
                                                                                2             MR. LEE:     All right.      You can answer,
                                                                                3    Ms. Mokhtarian.
                                                                                4             THE WITNESS:      Answer which question?           I'm
                                                                                5    sorry.
                                                                                6    BY MR. LEE:
                                                                                7        Q    Do you know anything about Neman Brothers'
                                                                                8    copyright application procedures before you began having
                                                                                9    those responsibilities at Neman Brothers in 2021?
                                                                                10       A    Not real -- no.
                                                                                11            MR. LEE:     Okay.    If it's all right, I'd suggest
                                                                                12   we go off the record for just a second so I can confer
                                                                                13   with counsel.
                                                                                14            MR. JEONG:     Mark, let me explain on the record.
                                                                                15            MR. LEE:     Okay.
                                                                                16            MR. JEONG:     So there's a mention about
                                                                                17   Ms. Alicia and there was another person.             We already
                                                                                18   identified them in the written responses, Adelso
                                                                                19   (phonetic) and Alicia.
                                                                                20            Those were the former employees who we think
                                                                                21   worked on those three applications in dispute in this
                                                                                22   case, so, obviously, others do not have personal
                                                                                23   knowledge because they did not personally work on those
                                                                                24   applications.
                                                                                25            But, you know, Ms. Mokhtarian here today is the

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Yoel Neman, Designated Representative
                                 #:1903
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 11 of 20 Page ID

                                                                                                                  August 12, 2022                           16

                                                                                1    best person we could find who could testify about those
                                                                                2    application procedures based on her knowledge about
                                                                                3    general practice and her understanding.              You know, she
                                                                                4    worked as a designer at the time too; so she has her own
                                                                                5    understanding, anyways, about, especially,
                                                                                6    Neman Brothers' practice of this application procedure,
                                                                                7    so that -- Ms. Mokhtarian is the best witness I think we
                                                                                8    can produce at this time; and if you'd like to depose
                                                                                9    like Adelso and Alicia, that's your choice, so --
                                                                                10             MR. LEE:     And just for the record, we want to
                                                                                11   depose the person most knowledgeable, the person who can
                                                                                12   speak on behalf of Neman Brothers concerning its
                                                                                13   copyright applications.
                                                                                14             MR. JEONG:     That's what I'm saying.            Alicia and
                                                                                15   Adelso are not employees anymore, so we cannot control
                                                                                16   them, so they cannot possibly be 30(b)(6) witness.
                                                                                17             MR. LEE:     Well, technically, they could.            I'm
                                                                                18   not trying to argue with you.          They may not be willing
                                                                                19   to.   I understand.
                                                                                20             Just so we're clear, then, you've produced
                                                                                21   Ms. Mokhtarian to produce the person most knowledgeable
                                                                                22   at Neman Brothers presently to answer these questions;
                                                                                23   is that a fair statement?
                                                                                24             MR. JEONG:     Yeah.     I mean, the most
                                                                                25   knowledgeable is not the standard for 30(b)(6); but

                                                                                                                PLANET DEPOS
                                                                                                   888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Yoel Neman, Designated Representative
                                 #:1904
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 12 of 20 Page ID

                                                                                                                  August 12, 2022                      17

                                                                                1    either way, she's the best person we could produce today
                                                                                2    as part of the Neman Brothers as an entity.
                                                                                3              MR. LEE:     All right.      Well, let's proceed and
                                                                                4    see what we can accomplish and then we'll figure out if
                                                                                5    there are issues later.
                                                                                6              So, Ms. Mokhtarian, just now that we've done
                                                                                7    all the legalese, just so you understand, I'm going to
                                                                                8    be asking you some questions as to Neman Brothers'
                                                                                9    knowledge regarding the copyright applications that were
                                                                                10   on the Exhibit A we just showed you, including the three
                                                                                11   copyright applications that are in issue in this case.
                                                                                12         Q   Do you understand that?
                                                                                13         A   Yes.
                                                                                14         Q   Okay.     Let me ask this:       Have you ever seen a
                                                                                15   document like Exhibit A before?
                                                                                16         A   Can you repeat that?
                                                                                17         Q   Yes.
                                                                                18             Have you ever seen a document like Exhibit A
                                                                                19   that is attached to the notice of deposition marked
                                                                                20   Exhibit 1 before?
                                                                                21         A   No.
                                                                                22         Q   Okay.     And looking at it, can you recognize
                                                                                23   what this document depicts?
                                                                                24         A   What the --
                                                                                25   ///

                                                                                                                   PLANET DEPOS
                                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Yoel Neman, Designated Representative
                                 #:1905
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 13 of 20 Page ID

                                                                                                                 August 12, 2022                     22

                                                                                1        A    Yes.
                                                                                2        Q    All right.     I will represent to you that
                                                                                3    Exhibit 2 is an Application Form VA the copyright office
                                                                                4    used in June of 2001; and, in fact, if you just look at
                                                                                5    the third page -- sorry to keep scrolling you back and
                                                                                6    forth, but look at the first page.
                                                                                7             Do you see in the upper left, it says "Fees are
                                                                                8    effective through June 30, 2002"?
                                                                                9             Do you see that, Ms. Mokhtarian?
                                                                                10       A    Yes.
                                                                                11       Q    Okay.     All right.     Now let's go back to the
                                                                                12   first page of the Application Form VA.
                                                                                13            You mentioned you looked at some records and
                                                                                14   saw that Neman Brothers filled out applications that it
                                                                                15   sent into the copyright office.
                                                                                16            Are these the kind of Form VAs that you saw
                                                                                17   when you looked through Neman Brothers' records for
                                                                                18   copyright applications?
                                                                                19       A    Yes.
                                                                                20       Q    Do you know when the copyright office first
                                                                                21   began using this sort of Form VA instruction and
                                                                                22   application form?
                                                                                23       A    No.
                                                                                24       Q    Okay.     But certainly they were doing so before
                                                                                25   2001, as shown in this document.

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Yoel Neman, Designated Representative
                                 #:1906
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 14 of 20 Page ID

                                                                                                                 August 12, 2022                     23

                                                                                1             When you looked through the Neman Brothers
                                                                                2    records, did you see the application cover sheet that
                                                                                3    was attached to the actual Form VA that you had to --
                                                                                4    that Neman Brothers had to fill out?
                                                                                5        A    No.
                                                                                6        Q    Okay.     If you'll look down this first page a
                                                                                7    little bit, first you see basic information; then below
                                                                                8    that, it says "Line-By-Line Instructions."
                                                                                9             Do you see that?
                                                                                10       A    Yes.
                                                                                11       Q    And the line-by-line instructions are
                                                                                12   instructions on how to fill out each line of the
                                                                                13   Form VA, is it not?
                                                                                14       A    Yes.
                                                                                15       Q    Do you see there Space 1, "Title," and then
                                                                                16   Space 2, "Authors"?
                                                                                17            Do you see where it says that?
                                                                                18       A    Yes.
                                                                                19       Q    All right.     And it gives general instructions,
                                                                                20   and it says "Name of Author."         And the text states the
                                                                                21   fullest form of the author's name should be given.
                                                                                22   Unless the work was made for hire, the individual who
                                                                                23   actually created the work is its author, unquote.
                                                                                24            Do you see that?
                                                                                25       A    Yes.

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                 Transcript of Yoel Neman, Designated Representative
                                 #:1907
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 15 of 20 Page ID

                                                                                                                   August 12, 2022                     24

                                                                                1           Q   Okay.     Do you understand what that means?
                                                                                2           A   Now I know what it means.
                                                                                3           Q   Okay.     And then below that, it explains what a
                                                                                4    work made for hire is.
                                                                                5               Do you see that?
                                                                                6           A   Yes.
                                                                                7           Q   All right.     Now, the copyright office says that
                                                                                8    they attached this application -- these instructions to
                                                                                9    every Form VA that they made available to the public.
                                                                                10              Do you have any reason to believe that's not
                                                                                11   true?
                                                                                12          A   No.
                                                                                13          Q   Okay.     All right.     Do you know whether
                                                                                14   Neman Brothers, in 2001, when it filed copyright
                                                                                15   applications, attempted to complete the applications
                                                                                16   accurately?
                                                                                17          A   No.
                                                                                18          Q   So you don't know whether they intentionally
                                                                                19   put in accurate information or not?
                                                                                20          A   I was not here in 2001, but I don't think -- I
                                                                                21   don't think it's done intentionally.
                                                                                22          Q   Okay.     And certainly you recognize --
                                                                                23   Neman Brothers would have recognized in 2001 that making
                                                                                24   a mistake in an application could invalidate, would it
                                                                                25   not?

                                                                                                                    PLANET DEPOS
                                                                                                       888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                  Transcript of Yoel Neman, Designated Representative
                                 #:1908
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 16 of 20 Page ID

                                                                                                                    August 12, 2022                     25

                                                                                1               MR. JEONG:      Objection; calls for a legal
                                                                                2    conclusion.
                                                                                3               MR. LEE:     You can answer.
                                                                                4               Ms. Mokhtarian, your counsel objected, but he
                                                                                5    did not instruct you not to answer, so I'd appreciate it
                                                                                6    if you'd answer the question, please.
                                                                                7               THE WITNESS:       Can you repeat the question one
                                                                                8    more time?
                                                                                9               MR. LEE:     Yeah.
                                                                                10          Q   Neman Brothers understood in 2001 that if it
                                                                                11   included inaccurate information in a copyright
                                                                                12   application, it could invalidate the application, did it
                                                                                13   not?
                                                                                14          A   I was not here in 2001; but I'm sure whatever
                                                                                15   they did, it was done -- you know, not done by
                                                                                16   intentionally.
                                                                                17          Q   Okay.    Now, the instructions that we just are
                                                                                18   looking at, those are intended to help people who fill
                                                                                19   out copyright applications to fill them out correctly,
                                                                                20   aren't they?
                                                                                21              MR. JEONG:      Objection; calls for speculation.
                                                                                22              MR. LEE:     You can answer, Ms. Mokhtarian.
                                                                                23              THE WITNESS:       To me these instructions are
                                                                                24   clear, but I'm not sure -- or somebody who was doing it
                                                                                25   back in 2001, it was clear to them or they just did it

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Yoel Neman, Designated Representative
                                 #:1909
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 17 of 20 Page ID

                                                                                                                 August 12, 2022                     26

                                                                                1    based on their knowledge.
                                                                                2    BY MR. LEE:
                                                                                3        Q    And -- and these written instructions were
                                                                                4    attached to every Form VA that the copyright office
                                                                                5    issued, weren't they?
                                                                                6        A    I don't know.      Sorry.
                                                                                7        Q    And certainly people who were filling out a
                                                                                8    Form VA copyright application could consult the
                                                                                9    instructions when they were -- every time they filled
                                                                                10   them out, could they not?
                                                                                11            MR. JEONG:     Again, calls for speculation.
                                                                                12            MR. LEE:     All right.      Well, we already looked
                                                                                13   at the term "author."
                                                                                14       Q    Is the term "author" as it's defined in these
                                                                                15   instructions consistent with your understanding of what
                                                                                16   the word "author" means?
                                                                                17       A    I understand what the word "author" means.
                                                                                18       Q    And generally the word "author" means the
                                                                                19   person who created the work, doesn't it?
                                                                                20       A    Yes.
                                                                                21       Q    But there is an exception for what the
                                                                                22   instructions call work made for hire.
                                                                                23            Do you see that?
                                                                                24       A    Yes.
                                                                                25       Q    And you see the term "work made for hire" is

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Yoel Neman, Designated Representative
                                 #:1910
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 18 of 20 Page ID

                                                                                                                  August 12, 2022                     46

                                                                                1              Do you know if Neman Brothers changed from
                                                                                2    paper applications to online applications as soon as
                                                                                3    they became available or as soon as it became possible
                                                                                4    to file electronic applications with the copyright
                                                                                5    office?
                                                                                6        A     I don't know if they did it right away, but I
                                                                                7    know it started in 2017.
                                                                                8        Q     All right.     So at some point in 2017, as far as
                                                                                9    you know, Neman Brothers changed from filing paper
                                                                                10   copyright applications to the online copyright
                                                                                11   applications; is that correct?
                                                                                12       A     That's correct.
                                                                                13       Q     All right?     Now, did the copyright office's
                                                                                14   online application system also contain instructions for
                                                                                15   how to fill out the electronic forms in 2017?
                                                                                16       A     2017, I cannot tell that.
                                                                                17       Q     Do you know if it does today?
                                                                                18       A     It does.
                                                                                19             MR. LEE:     Okay.    I'd like to ask the witness to
                                                                                20   look at the document designated "Copyright Office ECO
                                                                                21   Group Filing Instructions."
                                                                                22             Strike -- well, that's what I call it, anyway.
                                                                                23             Please take a look at this document.
                                                                                24             And let's mark it as exhibit number next, which
                                                                                25   will be Exhibit 10.

                                                                                                                PLANET DEPOS
                                                                                                   888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                               Transcript of Yoel Neman, Designated Representative
                                 #:1911
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 19 of 20 Page ID

                                                                                                                 August 12, 2022                     52

                                                                                1        A    Yes.
                                                                                2        Q    Okay.     And it reflects a copyright registration
                                                                                3    for the title of the work "2017 February Artwork"; is
                                                                                4    that right?
                                                                                5        A    Yes.
                                                                                6        Q    Do you know if Neman Brothers filed the
                                                                                7    application that resulted in the certificate marked
                                                                                8    Exhibit 12 as a paper application or whether it did so
                                                                                9    electronically?
                                                                                10       A    I wouldn't know.
                                                                                11       Q    Okay.     Do you know if the copyright office
                                                                                12   still used paper Form VA copyright applications in 2017?
                                                                                13       A    I don't know.
                                                                                14       Q    All right.
                                                                                15       A    They might have --
                                                                                16            MR. LEE:     All right.      Let's -- let me show --
                                                                                17   let's show the witness another document that is
                                                                                18   designated 2017.05.13 Application Form VA, and let's
                                                                                19   mark this as Deposition Exhibit Number 13.
                                                                                20                   (Exhibit No. 13 was marked for
                                                                                21                   identification by the
                                                                                22                   videoconference technician;
                                                                                23                   attached hereto.)
                                                                                24            MR. LEE:     Let the witness see the whole
                                                                                25   document, please.

                                                                                                                  PLANET DEPOS
                                                                                                     888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                Transcript of Yoel Neman, Designated Representative
                                 #:1912
Case 2:20-cv-11181-CAS-JPR Document 97-2 Filed 11/15/22 Page 20 of 20 Page ID

                                                                                                                  August 12, 2022                     63

                                                                                1                 I, the undersigned, a Certified Shorthand
                                                                                2    Reporter of the State of California, do hereby certify:
                                                                                3                  That the foregoing proceedings were taken
                                                                                4    before me at the time and place herein set forth with
                                                                                5    all participants appearing remotely; that any witnesses
                                                                                6    in the foregoing proceedings, prior to testifying, were
                                                                                7    duly sworn or affirmed; that a record of the proceedings
                                                                                8    was made by me using machine shorthand, which was
                                                                                9    thereafter transcribed under my direction; that the
                                                                                10   foregoing transcript is a true record of the testimony
                                                                                11   given.
                                                                                12                 Further, that if the foregoing pertains to
                                                                                13   the original transcript of a deposition in a federal
                                                                                14   case, before completion of the proceedings, review of
                                                                                15   the transcript [X] was [ ] was not requested.
                                                                                16                 I further certify I am neither financially
                                                                                17   interested in the action nor a relative or employee of
                                                                                18   any attorney or party to this action.
                                                                                19                 IN WITNESS WHEREOF, I have this date
                                                                                20   subscribed my name.
                                                                                21
                                                                                22   Dated:   8/27/22
                                                                                23
                                                                                24                       __________________________________
                                                                                                         Rhonda Norberg, RPR, CSR No. 9265,
                                                                                25                       CCRR No. 185

                                                                                                                PLANET DEPOS
                                                                                                   888.433.3767 | WWW.PLANETDEPOS.COM
